







		NO. 12-09-00152-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




RANDY ANDREWS,§
	APPEAL FROM THE 241ST

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Appellant was convicted of the offense of possession of a controlled substance.  We have
received the trial court's certification showing that this is a plea bargain case and Appellant has no
right to appeal.  See Tex. R. App. P. 25.2(d).  The certification also states that Appellant waived his
right to appeal.  The certification is signed by Appellant and his counsel.  Accordingly, the appeal
is dismissed for want of jurisdiction.

Opinion delivered May 29, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.





(DO NOT PUBLISH)


